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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

George Moore
                                    Plaintiff,
v.                                                     Case No.: 1:18−cv−02794
                                                       Honorable John Robert Blakey
Sugar Ventures, LLC, et al.
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 7, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the filing
of the stipulation of dismissal [63], this case is hereby dismissed with prejudice. Civil case
terminated. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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